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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHRISTINE BIROS,                                  )
                Plaintiff                         ) 2:23 cv 00297
                                                  )
       v.                                         )
                                                  )
SHANNI SNYDER et al,                              )
               Defendants.                        )

                    MOTION TO EXTEND TIME TO FILE REPLY

       AND NOW COMES Defendant J. Allen Roth, Esq., and files this, his Motion to

Extend Time to Reply until July 5, 2023:

   1. Plaintiff filed a response to the motion to dismiss.

   2. The response does not necessarily correlate to the issues raised in the

       motions to dismiss.

   3. A reply is necessary for this Court to be fully informed.

   4. However, due to the obligations in other cases, medical issues, and related

       litigation, an extension is necessary.

   5. Defendant requests until July 5, 2023, to file the reply.

       WHEREFORE, Defendant J. Allen Roth, Esq., respectfully requests that this

Court allow until July 5, 2023, to file a reply to the response to the motion to dismiss.

                                                  Respectfully submitted,


                                                  /s/ J. Allen Roth, Esq.
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